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John W. Davis, State Bar #200113
john@johnwdavis.com

LAW OFFICE OF JOHN W. DAVIS
501 W. Broadway, Suite 800

San Diego, CA 92101

Telephone: (619) 400-4870
Faesimile: (619) 342-7170

Attorney for Obj ector
Dave Denny

UNITED STATES DISTRICT CC)URT

FOR THE CENTRAL DISTRICT OF CALIFORNIA

WESTERN DIVISION

KAMBIZ BATMANGHELICH, et al.,
Plaintiffs,

V.

SIRIUS XM RADIO INC. and
STREAM INTERNATIONAL, INC.

Defendants.

 

 

Dave Denny hereby affirms:

CASE N0. Cv 09-9190 vBF(JCX)

DECLARATION OF DAVE DENNY

Date: September 12, 2011
Time: 1:3() p.m.
Judge: Hon. Valerie Baker Fairbank

Courtroom: Dept. 9
312 N. Spring St.
Los Angeles, CA 90012

1. I am, and at all times relevant to this matter Was, a resident of the State of

California.

 

 

 

Dec|aration of Dave Denny

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. My counsel in this matter is John William Davis. l may be contacted through

counsel at Law Office of John W. Davis, 501 W. Broadway, Suite 800, San
Diego, CA 92101; telephone (619) 400-4870.

. I received the Notice of Class Action Settlement (“Notice”) in the above-

referenced case. After receiving the Notice, I contacted my counsel to discuss

certain questions and concerns I had with the Notice.

. Subsequent to my discussion with counsel, I decided to express my concerns

to the Court. Those concerns are reflected in my Objection to Proposed
Settlement and Notice of Intent to Appear. I reviewed the ijection before it

was filed, and it was filed with my consent.

. Based on my review of the Notice, I confirm and verify that I am a member of

the class. I fit at least one of the three class member categories enumerated in
the Notice. More specifically, during the time period spanning July 13, 2006
through November 17, 2009, I placed one or more telephone calls to Sirius
Satellite Radio and spoke with a representative who did not inform me that

the call may be recorded or monitored.

. The last four digits of my Sirius account number are 4213. Any additional

information required to process my claim may be obtained from my counsel

at the above-referenced telephone number.

l declare under penalty of perjury under the laws of the State of California
and the United States of America that the foregoing is true and correct, and
that this Declaration was executed this 51 day of July, 2011, in San Diego,

California.

 

 

/Dave Den/ny A">

 

 

 

Declaration of Dave Denny CV 09-9190 VBF(JCx)

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